                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

                                                                    CIVIL ACTION NO. 17-cv-10876-LTS


 KAREN CALABRESE-KELLEY,
   Plaintiff

 v.

 TOWN OF BRAINTREE, BRAINTREE
 POLICE DEPARTMENT, OFFICER JOHN
 P. McNAMARA, SERGEANT CHARLES F.
 BATA, OFFICER DAVID J. CLARK and
 BRAINTREE POLICE DISPATCHER, JANE
 DOE,
    Defendants


                                                Status Report


        Now comes the above captioned plaintiff and through the undersigned hereby submits the within

status report as directed by this Court.

        1. Plaintiff has made the following attempts to find successor counsel since the hearing on January

            9, 2019 and today:

                a. Spoke with Attorney Howard Friedman, who does not accept matters this far along;

                b. Contacted eight law firms. Received referrals from 3 of those firms. One of the firms

                    offered to accept the matter with the tender of a large retainer.

                c. Plaintiff contacted seven solo practitioners and has yet to hear back.

                d. Contacted the ACLU but was told the intake process takes a long time.

                e. Contacted Attorney Len Milligan from a referral on January 29, 2019.

                f. Contacted former criminal attorney from the underlying case.

        2. Plaintiff plans to continue contacting attorneys and asking for referrals. Plaintiff is also reaching

            out to Dove Inc. and the Women’s Bar Foundation. Unfortunately, most attorneys do not wish
           to accept the matter at this stage of the litigation or are asking for funds the type of which plaintiff

           can not afford.

       3. The undersigned attorney has contacted attorneys on behalf of the plaintiff but alas none of the

           attorneys have been interested.




                                                        RESPECTFULLY SUBMITTED,
                                                        Plaintiff,
                                                        By Her attorney,


                                                        /s/ Jeb S. Penka
                                                        Jeb S. Penka, BBO #686069
                                                        Cornell & Gollub
                                                        88 Broad Street, 6th Floor
                                                        Boston, MA 02110
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                                                        (617) 912-6554



Date: January 29, 2019



                                      CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF).

Date: January 29, 2019                                  /s/ Jeb S. Penka
                                                        Jeb S. Penka, Esq.
